
644 S.E.2d 226 (2005)
STATE of North Carolina
v.
Harris Emanuel FORD.
No. 539P03-3.
Supreme Court of North Carolina.
November 3, 2005.
Harris Emanuel Ford, Pro Se.
Staples S. Hughes, Appellate Defender, for Harris Emanuel Ford.
Kathleen U. Baldwin, Assistant Attorney General, L. Johnson Britt, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 28th day of September 2005 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 3rd day of November 2005."
